       Case 1:24-cv-07174-NRB          Document 17        Filed 11/25/24     Page 1 of 1




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November 25, 2024

Particle Health Inc. v. Epic Systems Corporation, 24-cv-07174-NRB

Dear Judge Buchwald:

I represent Epic Systems Corporation (“Epic”) in the above-captioned matter and write on
behalf of both Epic and Particle Health Inc. (“Particle”). As discussed during the November 21,
2024 pre-motion conference, counsel for the parties have conferred and agreed on a briefing
schedule for Epic’s motion to dismiss. The parties also have reached agreement and jointly
request an extension of page limits for the briefing on that motion. The parties’ proposed
briefing schedule and applicable page limits are as follows:

      December 19, 2024: Deadline for Epic to file its motion to dismiss (not to exceed 35
       pages)

      January 9, 2025: Deadline for Particle to file its opposition to Epic’s motion to
       dismiss (not to exceed 35 pages)

      January 24, 2025: Deadline for Epic to file its reply in support of its motion to
       dismiss (not to exceed 15 pages)

The parties respectfully request that the Court issue an Order setting these deadlines and
approving the requested page limits.

                                                Respectfully submitted,

                                                /s/ Lauren A. Moskowitz

                                                Lauren A. Moskowitz

The Honorable Naomi Reice Buchwald
   United States Courthouse
      500 Pearl St.
          New York, NY 10007-1312

Copies To:

All Counsel of Record

BY ECF
